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  IN THE UNITED STATES DISTRICT COURT
  FOR THE SOUTHERN DISTRICT OF FLORIDA
  -----------------------------------------------------------------x
  JIANGMEN BENLIDA PRINTED                                             CM/ECF
  CIRCUIT CO., LTD., and ROK PRINTED
  CIRCUIT CO., LTD.,                                                   Civil Action No.: 21-60125-CIV-
                                                                       SCOLA/SNOW
                               Plaintiffs,

             -against-

  CIRCUITRONIX LLC,

                                Defendant.
  -----------------------------------------------------------------x


                                      Notice of Striking Docket Entry 45
  Pursuant to the Clerk’s Notice, DE 46, undersigned counsel, on behalf of plaintiff Jiangmen
  Benlida Printed Circuit Co., LTD. hereby gives notice that Docket Entry 45 has been stricken
  due to a filing error.


  Dated: January 11, 2022
         New York, New York

                                                                          By: ____________________
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